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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

JOHANNES MEIJER                          * CIVIL ACTION NO: 2:22-cv-01655
                                         *
                  Plaintiff              *
                                         * SECTION “ ”
                                         *
VERSUS                                   *
                                         *
                                         *
                                         * MAGISTRATE:
                                         *
ZURICH AMERICAN INSURANCE                *      Hon. Donna Phillips Currault
COMPANY, STAFF PRO, LLC, SUMMIT          *
HOSPITALITY I, LLC, AND MARRIOTT         *
INTERNATIONAL, INC.                      * JUDGE:
                                         *
                                         *      Hon. Nannette Jolivette Brown
                  Defendants             *
                                         *
                                         * JURY TRIAL DEMANDED
                                         *
******************************************************************************
                                   ORDER

       CONSIDERING Defendants’, SUMMIT HOSPITALITY I, LLC and MARRIOTT

INTERNATIONAL, INC., Motion to Withdraw Notice of Removal & Request for Trial by Jury,

       IT IS HEREBY ORDERED that Defendants’ SUMMIT HOSPITALITY I, LLC and

MARRIOTT INTERNATIONAL, INC., Motion to Withdraw Notice of Removal & Request for

Trial by Jury is hereby GRANTED.

       IT IS FURTHER ORDERED that the above-captioned matter be REMANDED to

Louisiana State Court.
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New Orleans, Louisiana, this _____ day of ____________________, 2022.



                                 ___________________________________________

                                                      JUDGE
